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8
                               UNITED STATES DISTRICT COURT
9
                           CENTRAL DISTRICT OF CALIFORNIA
10
                                      WESTERN DIVISION
11
12   UNITED STATES OF AMERICA,                       Case No. 2:23-CR-00176-SVW
13                Plaintiff,
                                                     DEFENDANT ANDREW REYES'S
14         v.                                        REPLY IN SUPPORT OF MOTION
                                                     TO COMPEL PRODUCTION OF
15   ANDREW ARCHIE REYES,                            MATERIALS PURSUANT TO RULE
                                                     16 AND BRADY
16                Defendant.
17
18         Defendant Andrew Archie Reyes, through counsel, hereby submits his reply
19   brief in support of his motion to compel (Dkt. 71). This filing is based upon the
20   attached memorandum of points and authorities, all files and records in this case, and
21   any further evidence and argument as may be presented at the hearing on this motion.
22                                           Respectfully submitted,
23
                                             CUAUHTEMOC ORTEGA
24                                           Federal Public Defender
25
26   DATED: August 21, 2024              By /s/ James S. Threatt
27                                         IJEOMA U. EKE
                                           JAMES S. THREATT
28                                         Deputy Federal Public Defenders
                                           Attorneys for Andrew Archie Reyes
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1                   MEMORANDUM OF POINTS AND AUTHORITIES
2          As the government describes, it has made additional discovery productions since
3    the August 8 motions deadline. The defense submits this reply to discuss the two
4    primary points of continued disagreement.
5          First, the defense continues to maintain that surveillance footage from inside the
6    Ventura Social Security Office is highly relevant to the trial in this matter. As noted in
7    its moving papers, the defense has requested this surveillance footage at least three
8    times over the last 15 months. The footage from inside the building, in particular, is
9    highly relevant because it would show what Mr. Reyes may have been responding to
10   when he encountered the complaining witness, J.P. In fact, in his post-arrest interview,
11   Mr. Reyes specifically asked investigators to collect the surveillance footage starting 10
12   minutes before the incident and continuing 10 minutes after—including from inside the
13   building. (USAO_000004.) Mr. Reyes would then be able to “explain the whole story
14   man.” (USAO_000004.) When asked why the footage was so important, Mr. Reyes
15   elaborated that “they already had someone laid out on the floor [inside the office]” and
16   that was why “they [J.P.] didn’t wanna even let me in there.” (USAO_000004.)
17         Particularly given Mr. Reyes’s request on the day of the incident, which put the
18   government on notice to preserve this video footage—not to mention the defense’s
19   repeated requests beginning shortly after Mr. Reyes made his initial appearance in
20   federal court and continuing over the last 15 months—the defense intends to request an
21   adverse jury instruction to the extent this video footage has not been produced because
22   it no longer exists.
23   ///
24   ///
25   ///
26   ///
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1          Second, the defense respectfully maintains that it is entitled to the grand jury
2    transcripts in this matter, for the reasons set out more fully in its moving papers (Dkt.
3    71 at 12:20–13:23).
4
5
6
7                                            Respectfully submitted,
8
                                             CUAUHTEMOC ORTEGA
9                                            Federal Public Defender
10
11   DATED: August 21, 2024              By /s/ James S. Threatt
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